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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 Joseph Burgess,                     )
                                     )
             Plaintiff,              )
                                     )
       vs.                           ) Case No.: 1:24-cv-01577-RLY-MG
                                     )
 TrueAccord Corp,                    )
                                     )
             Defendant.              )
 ____________________________________)___________________________________

                         ORDER OF DISMISSAL WITH PREJUDICE

          Pursuant to Plaintiff’s Motion to Dismiss with Prejudice filed by the Plaintiff in this

 cause, this cause is hereby dismissed with prejudice, and each party shall bear its own respective

 costs and expenses, including but not limited to attorneys’ fees, incurred in connection with this

 cause.




 _____________                                       _______________________________
 Date                                                Judge
                                                     United States District Court
                                                     Southern District of Indiana


 ECF notification:

 Copies to electronically registered counsel of record.
